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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re:                                                            :
                                                                   :   Chapter 7
 ORLY GENGER,                                                      :
                                                                   :   Case No.: 19-13895 (JLG)
                                        Debtor.                    :
                                                                   :
 ---------------------------------------------------------------   x


                                              SCHEDULING ORDER

         At a status conference before the Court on May 22, 2020, the Court established a hearing

date, objection deadlines and reply deadlines in connection with (i) Judgment Creditor Sagi

Genger’s Amended and Updated Motion to Dismiss and Memorandum of Law in Support [Dkt.

No. 239] (the “Motion to Dismiss”) and (ii) the Chapter 7 Trustee’s Motion for Order Pursuant

to Sections 105, 363, and 364 of the Bankruptcy Code and Bankruptcy Rules 2002, 4001, 6004,

9006 and 9019: Approving (A) Settlement Agreement, (B) Sale of The Debtor’s Estate’s Causes of

Action Against Certain Third Parties, and (C) Financing To Support the Continued Administration

of the Case and (D) Granting Related Relief (the “Trustee’s Motion”) [Dkt. No. 248]. The Court

also advised the parties to agree on a discovery schedule in connection with the Motion to Dismiss

and the Trustee’s Motion. It is hereby ORDERED that:


         1.        The hearing on the Motion to Dismiss and the Trustee’s Motion will be held on

July 21, 2020 at 11:00 a.m. (the “Hearing”) before The Honorable James L. Garrity, Jr., United

States Bankruptcy Judge, in his Courtroom 601 at the United States Bankruptcy Court for the

Southern District of New York, One Bowling Green, New York, New York 10004, provided

however that the Hearing may be conducted telephonically at the Court’s discretion.




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         2.        Any responses or objections (collectively, the “Objections”) to the Motion to

Dismiss and Trustee’s Motion must be in writing, conform to the Bankruptcy Code, the

Bankruptcy Rules and the Court’s Local Rules, be electronically filed with the Bankruptcy Court

in accordance with General Order No. M-399, which, along with the User’s Manual for the

Electronic Case Filing System, can be found at the Court’s Website, and be served so as to be

received by email no later than July 7, 2020 (the “Objection Deadline”) by: (i) the Bankruptcy

Judge (with two hard copies clearly marked “Chambers Copy” delivered to the Court to the

attention of Chambers of The Honorable James L. Garrity, Jr. within one day of filing), (ii)

Tarter Krinsky & Drogin LLP, 1350 Broadway, 11th Floor, New York, New York 10018, Attn:

Rocco A. Cavaliere, Esq. (rcavaliere@tarterkrinsky.com), (iii) Emmet Marvin & Martin, 120

Broadway, 32nd Floor, New York, New York 10271, Attn: John Dellaportas, Esq. and Thomas

Pitta) (jdellaportas@emmetmarvin.com and tpitta@emmetmarvin.com), (iv) all parties having

filed Notices of Appearance in this case at the addresses set forth in the Notices of Appearance,

and (v) the Office of the United States Trustee for the Southern District of New York, 201

Varick Street, Suite 1006, New York, New York 10014, Attn: Richard Morrissey, Esq. (the

“Notice Parties”).

         3.        All replies to any Objections shall be filed and served in the manner described in

paragraph 2 herein by no later than July 13, 2020 at 12:00 p.m. (the “Reply Deadline”).

         4.        No later than May __, 2020, Within two (2) days of the entry of this

Scheduling Order [JLG], Emmet Marvin & Martin LLP shall serve the Motion to Dismiss and

Tarter Krinsky& Drogin LLP shall serve the Trustee’s Motion, together with this Scheduling

Order, on (i) all creditors that filed proofs of claim in this case at their last known address by first

class mail, or by email to counsel to creditors, if an email address is available, (ii) all known




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creditors on the Debtor’s schedules at their last known address by first class mail, or by email to

counsel to creditors, if an email address is available, (iii) all parties that have filed a notice of

appearance pursuant to Bankruptcy Rule 2002(a) by email, (iv) the Office of the United States

Trustee by first class mail, and (v) the Internal Revenue Service by first class mail. Service in

this manner shall be deemed good and sufficient notice under the Bankruptcy Code and the

Bankruptcy Rules.

         5.        All discovery in connection with the Motion to Dismiss and the Trustee’s Motion

shall be served no later than June 3, 2020.

         6.        All discovery in connection with the Motion to Dismiss and the Trustee’s Motion

shall be completed by July 2, 2020.

         7.        In the event of a dispute over discovery, the relevant parties shall promptly confer

to attempt in good faith to resolve the dispute. If notwithstanding their good faith efforts to do

so, counsel is unable to resolve a discovery dispute, they shall promptly request a telephonic

discovery conference.

         8.        The Court may modify the dates set forth herein for good cause shown.

         9.        This Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Scheduling Order.


Dated: New York, New York
      June 3, 2020
                                                  /s/   James L. Garrity, Jr.
                                                  HONORABLE JAMES L. GARRITY, JR.
                                                  UNITED STATES BANKRUPTCY JUDGE




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